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l16j1 /4 f-j EXCLUSIVE

Diddy 'as bad as Epstein,' says officer
who saw his sex rooms, hidden cameras
during Miami mansion raid
By Sieve Helling
                                                                                    ( • 598 Comments)
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Sordid new details have emerged of the so-called sex rooms that Sean "Diddy" Combs allegedly kept in
his Miami mansion - filled with sex toys, bondage gear, hidden cameras and lingerie, according to a
federal source, who said the disgraced rapper is "as bad as Epstein."

One of the Department of Homeland Security agents who helped raid Diddy's Florida abode claimed that
the music mogul had rooms that were clearly "dedicated to sex' with cameras all around.

"So if you were in those sex parties, you were being recorded from every possible angle, including angles
you wouldn't have Known abou�• the source said, referring to the sometimes days-long orgies he called
"freak offs" where drugged-up victims were allegedly forced to have sex with male prostitutes.
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